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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,           :
                                    :
     Plaintiff,                     :
                                    :
v.                                  : Case No. 8:03-cr-54-T-17TBM
                                    :
LESLIE BARNES,                      :
                                    :
     Defendant,                     :
                                    :
     and                            :
                                    :
SUNTRUST INVESTMENT SERVICES, INC., :
                                    :
     Garnishee.                     :

                ORDER GRANTING UNITED STATES OF AMERICA’S
                 MOTION TO DISSOLVE WRIT OF GARNISHMENT

      THIS CAUSE came on for consideration upon the United States of America’s

Motion to Dissolve Writ of Garnishment issued to SunTrust Investment Services, Inc.

The Court, having reviewed the Motion, finds that it is well taken and due to be granted.

      Accordingly, it is

      ORDERED, ADJUDGED, AND DECREED that the United States of America’s

Motion to Dissolve Writ of Garnishment is granted. It is further

      ORDERED, ADJUDGED, AND DECREED that the Writ of Garnishment issued to

SunTrust Investment Services, Inc., is hereby dissolved and is of no further legal

consequence. It is further

      ORDERED, ADJUDGED, AND DECREED that SunTrust Investment Services,

Inc.’s, demand for payment of a garnishment deposit and for payment of its costs and
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expenses, including a reasonable attorney’s fee for answering the Writ of Garnishment,

is denied.

       DONE AND ORDERED at Tampa, Florida, on January 28th, 2009.




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